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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                         Criminal No. 20-106 (DWF/BRT)

 UNITED STATES OF AMERICA,

                      Plaintiff,
                                                      GOVERNMENT’S POSITION
        v.
                                                      ON SENTENCING
 (1) LAMOND LEROY MCCABE,

                      Defendant.



       The United States of America, by and through its attorneys, W. Anders Folk, Acting

United States Attorney for the District of Minnesota, and Ruth S. Shnider, Assistant United

States Attorney, hereby respectfully submits its position on sentencing with regard to

Defendant Lamond McCabe. For the reasons set forth below, the Government submits that

the appropriate sentence is 195 months.

              BACKGROUND & PRESENTENCE INVESTIGATION

       On June 9, 2021, Mr. McCabe pleaded guilty to one count of aiding and abetting

possession with intent to distribute cocaine and cocaine base (Count 2), and one count of

aiding and abetting possession of firearms in furtherance of a drug trafficking crime (Count

3). (PSR ¶¶ 1, 3). These charges arose from an investigation led by the Minneapolis Police

Department in March 2020. Through informant information, surveillance, and other

investigative measures, the MPD uncovered that McCabe and others were engaged in a

large-scale cocaine trafficking operation, which was conducted at least in part out of a

“stash house” apartment that McCabe was renting under an alias in downtown
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Minneapolis. On March 25, 2020, the day of his arrest, McCabe and his co-defendant,

Mario Rolack, were observed retrieving a large, suspicious duffel bag from a residence in

Bloomington, and bringing it to the stash house apartment downtown. Later that same

afternoon, immediately before their arrests, McCabe and Rolack were observed departing

the apartment building with the same duffel bag and placing it into McCabe’s vehicle. The

bag was found to contain approximately 30 kilograms of powder cocaine, 737 grams of

crack cocaine, and two firearms.

       The United States has reviewed the Presentence Investigation Report (“PSR”)

prepared by the U.S. Probation Office and agrees with the recitation of the offense conduct

set forth therein. (See PSR ¶¶ 10-20). The Government also does not object to its findings

that Mr. McCabe has a Category II criminal history, and a Guidelines range of 121 to 151

months’ imprisonment, plus a consecutive term of 60 months. (PSR ¶¶ 84-86). The

statutory mandatory minimum sentence on Count 2 is 120 months, with a mandatory,

consecutive term of 60 months on Count 3. (PSR ¶ 84).

       As summarized in the PSR, Mr. McCabe received 3 criminal history points, which

derive from his 1999 federal cocaine trafficking conviction, for which he received a

sentence of 180 months. (PSR ¶ 48; Case No. 99-cr-251).

                           THE APPROPRIATE SENTENCE

       The primary issue before the Court is what constitutes a reasonable sentence in light

of the factors enumerated in 18 U.S.C. § 3553(a). Based on a balancing of the issues set

forth below, the Government believes a total sentence of 195 months is sufficient but not

greater than necessary to achieve justice in this case.
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       Mr. McCabe’s criminal conduct was incredibly serious in and of itself. On the day

of his arrest, not only was McCabe in direct possession of a shocking amount of controlled

substances; he also possessed two firearms in furtherance of his unlawful activities. But

there are two further aggravating aspects of his conduct. First, McCabe himself occupied

an important role in what was clearly a sophisticated drug trafficking ring: he rented a

“stash house” under a false alias so that he and his co-conspirators could freely store,

manufacture, and distribute drugs while avoiding detection by law enforcement. Second,

McCabe engaged in all this conduct notwithstanding a prior federal conviction for drug-

trafficking, for which he received a 180-month sentence. Although Mr. McCabe has a

relatively low criminal history score, it is clear that the primary reason for that is simply

that he spent most of the past two decades in federal prison or under federal supervision.

Less than five years after being granted early termination from supervised released, he

chose not only to reenter the illicit world of drug dealing, but to do so on a scale that dwarfs

his prior offense conduct. (See PSR ¶ 48). A serious sentence—one longer than the 180

months he already served—is necessary and appropriate to protect the public, impose just

punishment, and promote respect for the law.

       While it is clear that Mr. McCabe has undergone some significant personal tragedies

in recent years, there is nothing in his past that explains his repeated turns to drug-

trafficking. He has strong, positive relationships with his family; he purchased and resided

at his own home in Monticello; he does not suffer from serious physical ailments or

substance abuse; and he was largely able to hold down lawful employment over the past

several years. The clear implication is that the money from drug dealing was simply too
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good, and too easy. Having already experienced a lengthy term of incarceration, and seen

its impact on his family, Mr. McCabe knew better and had every capability to do better.

       Finally, the Government notes that a 195-month sentence is consistent with the

sentence imposed on McCabe’s co-defendant. Mario Rolack received a sentence of 192

months but, by the undersigned’s memory, the Court subtracted a few months in that case

based on the COVID-related conditions of confinement at Sherburne County Jail, where

Rolack was detained. Mr. McCabe has been out of custody since his arraignment and,

although the aggravating and mitigating factors in each defendant’s case are somewhat

different, the Government believes they ultimately balance out such that a similar sentence

is appropriate in both cases.

                                     CONCLUSION

       For all the foregoing reasons, the United States respectfully recommends that the

Court impose a total sentence of 195 months (135 months on Count 2, plus the mandatory,

consecutive 60 months on Count 3).


Dated: August 30, 2021                          Respectfully submitted,

                                                W. ANDERS FOLK
                                                Acting United States Attorney

                                                /s/ Ruth S. Shnider
                                                BY: RUTH S. SHNIDER
                                                Assistant U.S. Attorney




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